UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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BLAKE LIVELY,                                                         :
                                                                      :   Civ. Action No. 1:24-cv-10049-LJL
                           Plaintiff,                                 :   (Consolidated for pretrial purposes
                                                                      :   with 1:25-cv-00449-LJL)
v.                                                                    :   rel. 1:25-cv-00449-LJL
                                                                      :
 WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                :   STIPULATION OF
 JAMEY HEATH, STEVE SAROWITZ, IT ENDS                                 :   PARTIAL DISMISSAL
 WITH US MOVIE LLC, MELISSA NATHAN, THE
 AGENCY GROUP PR LLC, and JENNIFER ABEL, :                                WITH PREJUDICE
                                                                      :
                           Defendants.                                :
                                                                      :
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JENNIFER ABEL,                                                        :
                                                                      :
                                    Third-Party Plaintiff,            :
                                                                      :
v.                                                                    :
                                                                      :
JONESWORKS LLC,                                                       :
                                                                      :
                                    Third-Party Defendant.            :
                                                                      :
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WAYFARER STUDIOS LLC,                                                 :
JUSTIN BALDONI, JAMEY HEATH, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, JENNIFER                                :
ABEL, and STEVE SAROWITZ,                                             :
                                                                      :
                                    Plaintiffs,                       :
                                                                      :
v.                                                                    :
                                                                      :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                   :
SLOANE, VISION PR, INC., and THE NEW YORK                             :
TIMES COMPANY,                                                        :
                                                                      :
                                    Defendants.                       :
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       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned attorneys

for the parties to the above-captioned actions, that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)

plaintiff Blake Lively hereby withdraws and dismisses the Tenth Cause of Action (intentional

infliction of emotional distress) and the Eleventh Cause of Action (negligent infliction of

emotional distress) asserted in her Amended Complaint (Dkt. 84) with prejudice, with each party

to bear their own costs and fees, and without the withdrawal or dismissal of any other claim,

counterclaim or third-party claim asserted herein.

        IT IS FURTHER STIPULATED AND AGREED that this Stipulation may be executed in

counterparts, and electronic or facsimile signatures shall have the same force and effect as

originals.

Dated: June 13, 2025




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Dated:               , 2025
         New York, New York                      LEWIS J. LIMAN
                                                 United States District Judge

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